[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
By his petition filed on February 5, 1996, the above cited petitioner seeks a writ of habeas corpus. The petition alleged that on March 17, 1995, the petitioner received a total effective sentence of five years in the custody of the Commissioner of Correction, and that he remains illegally confined under this sentence. The gist of the petition is that the Commissioner of Correction has failed to credit pretrial jail credit to the petitioner.
The records of the Department of Correction show that the petitioner completed his sentence and was discharged from custody on January 12, 2000. The court is unable to provide the petitioner with the relief sought as the issue is moot. Accordingly, the petition is dismissed.
Terence A. Sullivan, Judge